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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )           4:04CR3081-2
                Plaintiff,               )
                                         )
     vs.                                 )             ORDER
                                         )
BRIAN LAMAR PARKER,                      )
                                         )
                Defendant.               )


     This matter is before the court on the motion of the defendant
to continue the trial of this matter (Filing No. 67, part 2).                The
motion does not comply with NECrimR 12.1 which provides, in part:
           Unless excused by the court in individual
           cases, a motion to continue the trial setting
           of   a   criminal  case   must   state   facts
           demonstrating that the ends of justice served
           by a continuance outweigh the best interest of
           the public and the defendant in a speedy
           trial, (see 18 U.S.C. §3161(h)(8)), or that
           for some other reason, the continuance will
           not violate the Speedy Trial Act.
The motion:
     (x)   Does not state facts demonstrating that the ends of
           justice   served   by   a   continuance      outweigh     the   best
           interest of the public and the defendant in a speedy
           trial.
     (x)   Does not state a reason the continuance will not violate
           the Speedy Trial Act.
     Accordingly, the motion (Filing No. 67, part 2) is DENIED.
     IT IS SO ORDERED.
     DATED May 25, 2005.
                                         BY THE COURT:


                                         s/  David L. Piester
                                         David L. Piester
                                         United States Magistrate Judge
